 Case 8:23-cv-01798 Document 6-1 Filed 09/26/23 Page 1 of 33 Page ID #:32



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 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10
11   MARCO ANTONIO CARRALERO;                          Case No.: 8:23-cv-01798
     GARRISON HAM; MICHAEL
12   SCHWARTZ; ORANGE COUNTY
     GUN OWNERS PAC; SAN DIEGO                         MEMORANDUM OF POINTS AND
13   COUNTY GUN OWNERS PAC;                            AUTHORITIES IN SUPPORT OF
     CALIFORNIA GUN RIGHTS                             PLAINTIFFS’ MOTION FOR A
14   FOUNDATION; and FIREARMS                          PRELIMINARY INJUNCTION
     POLICY COALITION, INC.,
15
                        Plaintiffs,
16
           v.
17
     ROB BONTA, in his official capacity as
18   Attorney General of California,
19
                        Defendant.
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                         MEMO. OF POINTS & AUTHORITIES ISO PRELIMINARY INJUNCTION
 Case 8:23-cv-01798 Document 6-1 Filed 09/26/23 Page 2 of 33 Page ID #:33



                                                TABLE OF CONTENTS
 1
                                                                                                                              Page
 2
     TABLE OF AUTHORITIES................................................................................... iii
 3
     INTRODUCTION ..................................................................................................... 1
 4
 5   STATEMENT OF THE CASE ................................................................................. 2

 6       I.       Constitutional and Statutory Provisions..................................................... 2
 7
         II.      SB2’s Effect on Plaintiffs .......................................................................... 4
 8
 9   ARGUMENT ............................................................................................................ 5

10       I.       Preliminary Injunction Standard ................................................................ 5
11
         II.      The Challenged Provisions Likely Violate Plaintiffs’ Second Amendment
12                Rights ......................................................................................................... 5
13
               A. The Second Amendment’s Plain Text Covers Plaintiffs’ Conduct ........... 6
14
               B. The State Cannot Meet Its Burden to Offer Historical Analogues ............ 7
15
16                1. The Challenged Provisions in SB2 Are Inconsistent with the Historical
                     Tradition of Firearm Regulation ......................................................... 10
17
18                     a. The no-carry default in private businesses .................................... 10
19                     b. Places selling liquor for consumption on the premises ................. 12
20
                       c. Gambling establishments ............................................................... 13
21
22                     d. Stadiums, arenas, and amusement parks........................................ 14
23                     e. Museums and libraries ................................................................... 14
24
                       f. Hospitals and health care facilities ................................................ 15
25
26                     g. Parks, areas controlled by California wildlife agencies, and zoos 16
27                     h. Public gatherings or special events ................................................ 18
28
                                 MEMO. OF POINTS & AUTHORITIES ISO PRELIMINARY INJUNCTION
                                                                   -i-
 Case 8:23-cv-01798 Document 6-1 Filed 09/26/23 Page 3 of 33 Page ID #:34



 1                     i. Public Transportation..................................................................... 19

 2                2. SB2’s Location Specific Bans Are Not Analogous to Permissible
 3                   “Sensitive Place” Restrictions ............................................................ 20

 4       III.     The Other Factors Favor a Preliminary Injunction .................................. 23
 5
         IV.      The Court Should Waive Bond or Require Only Nominal Security ....... 24
 6
     CONCLUSION ....................................................................................................... 25
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                MEMO. OF POINTS & AUTHORITIES ISO PRELIMINARY INJUNCTION
                                                               -ii-
 Case 8:23-cv-01798 Document 6-1 Filed 09/26/23 Page 4 of 33 Page ID #:35



 1                                        TABLE OF AUTHORITIES

 2   Cases                                                                                                      Page
 3   Antonyuk v. Hochul,
 4        635 F. Supp. 3d 111 (N.D.N.Y. 2022) (Antonyuk I) ..................................... 13

 5   Antonyuk v. Hochul,
          639 F. Supp. 3d 232 (N.D.N.Y. 2022) (Antonyuk II) .............. 9, 12, 17, 18, 23
 6
     Baird v. Bonta,
 7         No. 23-15016, 2023 WL 5763345 (9th Cir. Sept. 7, 2023) ...................... 5, 24
 8   Barahona-Gomez v. Reno,
          167 F.3d 1228 (9th Cir. 1999) ....................................................................... 24
 9
     Bridgeville Rifle & Pistol Club, Ltd. v. Small,
10         176 A.3d 632 (Del. 2017) ............................................................................. 17
11   California v. Azar,
12         911 F.3d 558 (9th Cir. 2018) ........................................................................... 5
     Christian v. Nigrelli,
13
           642 F. Supp. 3d 393 (W.D.N.Y 2022) .................................................... 10, 23
14   District of Columbia v. Heller,
15          554 U.S. 570 (2008) .............................................................................. 6, 7, 12
16   Espinoza v. Mont. Dep’t of Revenue,
           140 S. Ct. 2246 (2020) .................................................................................... 8
17
     Hardaway v. Nigrelli,
18        No. 22-CV-771 (JLS), 2022 WL 16646220 (W.D.N.Y. Nov. 3, 2022)........ 22
19   Junior Sports Mags., Inc. v. Bonta,
           No. 22-56090, 2023 WL 5945879 (9th Cir. Sept. 13, 2023) .............. 5, 23, 24
20
     Koons v. Platkin,
21
          No. 22-7464, 2023 WL 3478604
22        (D.N.J. May 16, 2023) .............................. 9, 10, 13, 14, 15, 16, 18, 19, 22, 23
23   Lynch v. Donnelly,
           465 U.S. 668 (1983) ........................................................................................ 8
24
     Morris v. Army Corps of Eng’rs,
25        2017 WL 11676289 (9th Cir. Dec. 15, 2017) ......................................... 17, 18
26   Morris v. Army Corps of Eng’rs,
27        60 F. Supp. 3d 1120 (D. Idaho 2014) ...................................................... 17, 18

28
                                MEMO. OF POINTS & AUTHORITIES ISO PRELIMINARY INJUNCTION
                                                              -iii-
 Case 8:23-cv-01798 Document 6-1 Filed 09/26/23 Page 5 of 33 Page ID #:36



 1   N.Y. State Rifle & Pistol Ass’n v. Bruen,
           142 S. Ct. 2111 (2022) ...... 1, 2, 5, 6, 7, 8, 9, 10, 11, 12, 14, 16, 17, 21, 22, 23
 2
     Nken v. Holder,
 3         556 U.S. 418 (2009) ...................................................................................... 23
 4   People v. Chairez,
           2018 IL 121417, 104 N.E.3d 1158 (2018) .................................................... 17
 5
     Ramos v. Louisiana,
 6        140 S. Ct. 1390 (2020) ................................................................................ 7, 8
 7   Range v. U.S. Att’y Gen.,
 8        69 F.4th 96 (3d Cir. 2023) ............................................................................. 23

 9   Sammartano v. First Jud. Dist. Ct.,
         303 F.3d 959 (9th Cir. 2002) ......................................................................... 24
10
     Save Our Sonoran, Inc. v. Flowers,
11         408 F.3d 1113 (9th Cir. 2005) ....................................................................... 24
12   Siegel v. Platkin,
            No. 1:22-cv-7463, 2023 WL 1103676 (D.N.J. Jan. 30, 2023) ................ 14, 23
13
     Solomon v. Cook Cnty. Bd. of Comm’rs,
14        559 F. Supp. 3d 675 (N.D. Ill. 2021) ............................................................ 18
15   Timbs v. Indiana,
16         139 S. Ct. 682 (2019) ...................................................................................... 8
     Virginia v. Moore,
17
           553 U.S. 164 (2008) ........................................................................................ 8
18   Winter v. Nat. Res. Def. Council, Inc.,
19         555 U.S. 7 (2008) ...................................................................................... 5, 23
20   Statutes
21
     U.S. CONST. amend. II. .............................................................................................. 2
22   S.2 (Cal. Stat. 2023) .................................................................................................. 1
23   S.2 § 1(b) ................................................................................................................... 2
24   Cal. Pen. Code
25         § 26150 ............................................................................................................ 3
           § 26165 ............................................................................................................ 3
26         § 26230(7) ................................................................................................. 3, 15
27         § 26230(8) ........................................................................................... 3, 19, 20
           § 26230(9) ........................................................................................... 2, 12, 13
28         § 26230(10) ......................................................................................... 3, 18, 19
                                   MEMO. OF POINTS & AUTHORITIES ISO PRELIMINARY INJUNCTION
                                                                    -iv-
 Case 8:23-cv-01798 Document 6-1 Filed 09/26/23 Page 6 of 33 Page ID #:37



 1            § 26230(12) ............................................................................................... 3, 16
              § 26230(13) ............................................................................................... 3, 16
 2            § 26230(15) ..................................................................................................... 3
 3            § 26230(16) ............................................................................................... 3, 14
              § 26230(17) ............................................................................................... 3, 14
 4            § 26230(19) ............................................................................................... 3, 14
 5            § 26230(20) ......................................................................................... 3, 14, 16
              § 26230(26) ............................................................................................... 2, 10
 6
     Other Authorities
 7
 8   2021 Annual Report, PARKS CALIFORNIA, https://tinyurl.com/4b7w7sdc .............. 17

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     “American Independence,” Samuel Adams Speech (Aug. 1, 1776),
10
          https://tinyurl.com/3zued27k ........................................................................ 19
11   “AT THE INSTANCE OF BENJAMIN FRANKLIN”: A BRIEF HISTORY OF THE LIBRARY
12        COMPANY OF PHILADELPHIA 5 (2015), https://bit.ly/3vdBGQk .................... 15
13   A DIGEST OF THE LAWS OF THE STATE OF GEORGIA, 1800 Ga. Laws 611
          (Watkins ed., 1800) ....................................................................................... 22
14
     A Museum of Art and Culture, PEABODY ESSEX MUSEUM, https://bit.ly/439jDtl
15        (last visited Sept. 25, 2023) ........................................................................... 15
16   About Us, CHARLESTON MUSEUM, https://bit.ly/3MPYhMB
           (last visited Sept. 25, 2023) ........................................................................... 15
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     About Us, N.Y. HIST. SOC’Y MUSEUM & LIBRARY, https://bit.ly/3WkCcZF
18         (last visited Sept. 25, 2023) ........................................................................... 15
19   ABRIDGEMENT OF THE PUBLIC PERMANENT LAWS OF VIRGINIA 42
20        (Davis ed., 1796) ........................................................................................... 22
21   Amici Br. of Citizens Comm. for the Right to Keep & Bear Arms, et al.,
          Koons v. Platkin, No. 23-1900, ECF No. 91 (3d Cir. Aug. 16, 2023) .......... 22
22
     Amicus Br. of The Ctr. for Human Liberty,
23        Antonyuk v. Nigrelli, No. 22-2908, ECF No. 313
24        (2d Cir. Feb. 9, 2023) .............................................................................. 21, 22
     Anne Beamish, Before Parks: Public Landscapes in Seventeenth- and Eighteenth-
25
          Century Boston, New York, and Philadelphia,
26        40 LANDSCAPE J. 1 (2021) ....................................................................... 16, 17
27   BARBARA PEPE, FREEHOLD:
          A HOMETOWN HISTORY 81 (2003) ................................................................ 14
28
                                  MEMO. OF POINTS & AUTHORITIES ISO PRELIMINARY INJUNCTION
                                                                  -v-
 Case 8:23-cv-01798 Document 6-1 Filed 09/26/23 Page 7 of 33 Page ID #:38



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           (last visited Sept. 25, 2023) ........................................................................... 16
 2
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           TAVERNS, SALOONS, SPEAKEASIES AND GROG SHOPS 15
 5
           (Oxford 2011)................................................................................................ 12
 6   Ed Crews, Gambling: Apple-Pie American and Older than the Mayflower,
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          https://tinyurl.com/23db8pzk ........................................................................ 13
 8
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11         Carry” Defaults on Private Land, 48 J. L. MED. & ETHICS 183 (2020) ....... 11
     JANE CARSON, COLONIAL VIRGINIANS 108 (1965) .................................................. 14
12
     Jay Precht, Legalized Gambling, 64 PARISHES (Nov. 16, 2011),
13         https://tinyurl.com/bdepz9rn ......................................................................... 13
14   Jonathan Lloyd, Security Guard Injured in Shootout with Armed Robbers at
15         Hustler Casino, NBC L.A. (Aug. 4, 2022), https://bit.ly/3PoVBp8 ....... 13, 14
16   Karla Rendon et al., 1 Killed, 1 Injured in Shooting at San Diego Central Library:
           SDPD, NBC7 SAN DIEGO (May 23, 2023), https://bit.ly/3ZmYk73 ............. 15
17
     Kopel & Greenlee, The “Sensitive Places” Doctrine,
18         13 CHARLESTON L. REV. 205 (2018) ....................................................... 10, 21
19   Lauren Hepler et al., Gilroy Shooting: Two Children Among the Dead at
          California Festival, N.Y. TIMES (July 29, 2019),
20
          https://nyti.ms/3PtDbTY ............................................................................... 19
21   1 LAWS OF THE STATE OF NEW JERSEY 36 (Bloomfield ed., 1811) .......................... 22
22   1 LAWS OF THE STATE OF NEW YORK 176
23        (2d ed., Albany: Websters & Skinner 1807) ................................................. 22

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          (Samuel & John Adams eds., 1797) .............................................................. 22
25
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          Was Ratified in 1791, and not 1868, SSRN, Oct. 1, 2022,
27
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28
                                 MEMO. OF POINTS & AUTHORITIES ISO PRELIMINARY INJUNCTION
                                                               -vi-
 Case 8:23-cv-01798 Document 6-1 Filed 09/26/23 Page 8 of 33 Page ID #:39



 1   Monuments of Colonial New York: George III and Liberty Poles, GOTHAM CTR.
         (Oct. 15, 2020), https://tinyurl.com/bdzkafap ............................................... 19
 2
     Nicholas J. Johnson et al., SECOND AMENDMENT: REGULATION, RIGHTS, AND
 3        POLICY 2195 (3d ed. 2021) ........................................................................... 20
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           THE Q. J. OF THE N.Y. STATE HIST. ASS’N (1931) ......................................... 20
 5
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 7   Orlando Mayorquin, Store Owner is Fatally Shot by Man Who Confronted Her
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           https://nyti.ms/3rbCMOg .............................................................................. 11
 9
     Our History, THE PEALE, https://bit.ly/41KAZvC (last visited May 23, 2023) ...... 15
10
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11        (Stanley Ray ed., 1904) ................................................................................. 22
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           the Gentry of Virginia, 34 WM. & MARY Q. 239 (1977)............................... 14
17
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          (Grimke ed., 1790) ........................................................................................ 22
20
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21         20 J. OF SOC’Y OF ARCH. HIST. 47 (1961) ...................................................... 17
22   VOTES AND PROCEEDINGS OF THE HOUSE OF DELEGATES OF THE STATE OF
23        MARYLAND: NOVEMBER SESSION 1791 (Green ed., 1795) ........................... 22

24
25
26
27
28
                                MEMO. OF POINTS & AUTHORITIES ISO PRELIMINARY INJUNCTION
                                                             -vii-
 Case 8:23-cv-01798 Document 6-1 Filed 09/26/23 Page 9 of 33 Page ID #:40



 1                                      INTRODUCTION
 2         Last summer, the Supreme Court unequivocally held that Americans have a
 3   Second Amendment right to keep and bear arms outside their homes. See N.Y. State
 4   Rifle & Pistol Ass’n v. Bruen, 142 S. Ct. 2111, 2122 (2022). This week, California
 5   enacted Senate Bill 2 (“SB2”) in retaliation. See S.2 (Cal. Stat. 2023). SB2
 6   unconstitutionally limits where law-abiding, licensed-to-carry Californians may keep
 7   and bear arms. Its laundry list of so-called “sensitive” locations includes all manner
 8   of ordinary venues that Californians frequent. As a result, licensed individuals cannot
 9   exercise their constitutional right to bear arms during most daily activities—going to
10   work, taking public transportation, running errands, going out to dinner, entering a
11   hospital, attending sporting events, and more. By labeling myriad public places de
12   facto “gun free zones,” SB2 effectively “eviscerate[s] the general right to publicly
13   carry arms for self-defense.” Bruen, 142 S. Ct. at 2134.
14         Plaintiffs are ordinary, law-abiding citizens licensed to carry in California, and
15   organizations that have members possessing such permits. Plaintiffs target provisions
16   of SB2 that impose particularly egregious restrictions on their Second Amendment
17   right to bear arms outside the home. Plaintiffs seek a preliminary injunction to enjoin
18   enforcement of SB2’s restrictions on carry inside public transportation, places selling
19   liquor, hospitals, parks, gambling establishments, stadiums, public libraries,
20   amusement parks, zoos, museums, and public gatherings. Plaintiffs also seek to enjoin
21   SB2’s no-carry-default provision making it unlawful for licensed citizens to carry
22   firearms in businesses open to the public without express consent.
23         All these provisions infringe on Plaintiffs’ Second Amendment rights. In Bruen,
24   the Supreme Court reaffirmed that any Second Amendment regulation is
25   constitutional only if the government “demonstrate[s] that [it] is consistent with this
26   Nation’s historical tradition of firearm regulation.” 142 S. Ct. at 2126. But there is no
27   historical tradition supporting California’s ban on lawful firearm carrying in the public
28   places just mentioned. And, under this Court’s preliminary injunction analysis,
                         MEMO. OF POINTS & AUTHORITIES ISO PRELIMINARY INJUNCTION
                                                   -1-
 Case 8:23-cv-01798 Document 6-1 Filed 09/26/23 Page 10 of 33 Page ID #:41



 1   because these provisions of SB2 infringe a constitutional right, they are either causing
 2   or will soon cause Plaintiffs irreparable harm which no public interest can justify.
 3   Plaintiffs thus respectfully ask this Court to preliminarily enjoin the challenged
 4   provisions’ enforcement.
 5                              STATEMENT OF THE CASE
 6   I.    Constitutional and Statutory Provisions
 7         The Second Amendment provides: “A well regulated Militia, being necessary
 8   to the security of a free State, the right of the people to keep and bear Arms, shall not
 9   be infringed.” U.S. CONST. amend. II. And the Supreme Court recently reiterated that
10   the right to “bear arms” includes the ability to “carry a handgun for self-defense
11   outside the home.” Bruen, 142 S. Ct. at 2122.
12         California passed SB2 to circumvent that holding. At a press conference
13   announcing the bill, Governor Newsom called Bruen a “bad ruling,” an “absurdity,”
14   and mocked the right to carry firearms outside the home.1 The State now attempts to
15   gut that right by decreeing nearly every public place “sensitive,” overextending a
16   narrow exception mentioned in Bruen. S.2 § 1(b) (legislative findings).
17         As relevant here, SB2 adds Section 26230 to the California Penal Code. Among
18   other restrictions, it restricts licensed carry in: (a) “any . . . privately owned
19   commercial establishment that is open to the public, unless the operator of the
20   establishment clearly and conspicuously posts a sign” that carry is permitted (the “no-
21   carry default”), Cal. Pen. Code § 26230(26); (b) buildings and parking lots of
22   “establishment[s] where intoxicating liquor is sold for consumption on the
23   premises[,]” id. § 26230(9); (c) buildings and their parking lots “used for gambling or
24   gaming of any kind whatsoever, including, but not limited to, casinos, gambling
25   establishments, gaming clubs, bingo operations, facilities licensed by the California
26   1
       See Gov. Gavin Newsom (@CAgovernor), Press Conference on SB2, TWITTER [X],
27   https://bit.ly/46qMATf (last accessed Sept. 18, 2023) (timestamps: called Bruen an
     absurdity at 41:08; used air quotes while discussing “right” to carry outside home at
28   41:20; called Bruen a bad ruling at 1:01:44).
                         MEMO. OF POINTS & AUTHORITIES ISO PRELIMINARY INJUNCTION
                                                   -2-
 Case 8:23-cv-01798 Document 6-1 Filed 09/26/23 Page 11 of 33 Page ID #:42



 1   Horse Racing Board, or a facility wherein banked or percentage games, any form of
 2   gambling device, or lotteries, other than the California State Lottery, are or will be
 3   played[,]” id. § 26230(15); (d) “[a] stadium, arena, or the real property or parking area
 4   under the control of a stadium, arena, or a collegiate or professional sporting or
 5   eSporting event[,]” id. § 26230(16); (e) buildings or parking lots of a public library,
 6   id. § 26230(17); (f) buildings or parking lots of an amusement park, id. § 26230(19);
 7   (g) buildings or parking lots of a zoo or a museum, id. § 26230(20); (h) buildings or
 8   parking lots of a hospital, medical office, or other place where “medical services are
 9   customarily provided[,]” id. § 26230(7); (i) “[a] park, athletic area, or athletic facility
10   that is open to the public and a street or sidewalk immediately adjacent to those
11   areas[,]” id. § 26230(12); (j) property under the control of the Department of Parks
12   and Recreation or Department of Fish and Wildlife, except those areas designated for
13   hunting, id. § 26230(13); (k) a “bus, train, or other form of transportation paid for in
14   whole or in part with public funds, and a building, real property, or parking area under
15   the control of a transportation authority supported in whole or in part with public
16   funds[,]” id. § 26230(8); and (l) “[a] public gathering or special event conducted on
17   property open to the public that requires the issuance of a permit from a federal, state,
18   or local government, and sidewalk or street immediately adjacent to the public
19   gathering or special event but is not more than 1,000 feet from the event or
20   gathering[,]” id. § 26230(10).
21         SB2’s restrictions fall on Californians who have already gone through the
22   onerous state licensing process to obtain a Concealed Carry Weapon (CCW) license.
23   To obtain a CCW license, California requires individuals to complete a lengthy
24   application, police interview, background check, training course, and shooting
25   proficiency exam. See id. §§ 26150, 26165. Individual Plaintiffs are licensed to carry
26   in California, as are many members of the Orange County Gun Owners PAC (OCGO),
27   the San Diego County Gun Owners PAC (SDCGO), California Gun Rights
28   Foundation (CGF), and Firearms Policy Coalition, Inc. (FPC), including Individual
                          MEMO. OF POINTS & AUTHORITIES ISO PRELIMINARY INJUNCTION
                                                    -3-
 Case 8:23-cv-01798 Document 6-1 Filed 09/26/23 Page 12 of 33 Page ID #:43



 1   Plaintiffs. See Decl. of Marco Antonio Carralero ¶ 6 (Sept. 26, 2023), Ex. A
 2   (“Carralero Decl.”); Decl. of Garrison Ham ¶ 2 (Sept. 26, 2023), Ex. B (“Ham Decl.”);
 3   Decl. of Michael Schwartz ¶¶ 5, 7 (Sept. 26, 2023), Ex. C (“Schwartz Decl.”); Decl.
 4   of Gene Hoffman ¶ 5 (Sept. 26, 2023), Ex. D (“Hoffman Decl.”); Decl. of Brandon
 5   Combs ¶ 9 (Sept. 26, 2023), Ex. E (“Combs Decl.”). Individual Plaintiffs and
 6   Organizational Plaintiffs’ members with CCW licenses are law-abiding firearm
 7   owners. Yet, SB2 strips them of their Second Amendment right to self-defense in
 8   public spaces while criminals may roam free.
 9   II.   SB2’s Effect on Plaintiffs
10         All Individual Plaintiffs are ordinary, law-abiding citizens. Plaintiff Carralero
11   works in the warehouse of a small family business and has participated in the Orange
12   County Sheriff’s Department Citizen’s Academy. See Carralero Decl. ¶ 6. Plaintiff
13   Ham served his country in combat for several years in Iraq and Afghanistan, and
14   currently works in sales. See Ham Decl. ¶ 5. Plaintiff Schwartz is the Founder and
15   Director of several gun advocacy organizations. See Schwartz Decl. ¶ 3. Each has a
16   California CCW license issued by their County Sheriff, see Carralero Decl. ¶ 7; Ham
17   Decl. ¶ 4; Schwartz Decl. ¶ 9, as do many members of OCGO, SDCGO, CGF, and
18   FPC, see Schwartz Decl. ¶¶ 5, 7; Hoffman Decl. ¶ 5; Combs Decl. ¶ 9.
19         SB2’s effect on Plaintiffs is obvious. Plaintiffs have carried in many of the
20   places where SB2 now bars carry and would carry in those places after January 1,
21   2024, the effective date of SB2, but for the bans and criminal penalties imposed by
22   SB2. For example, Plaintiff Schwartz regularly carries his personal firearm for self-
23   defense when entering all of the challenged locations in SB2. See Schwartz Decl. ¶¶
24   14–25. Similarly, Plaintiff Ham regularly carries his personal firearm for self-defense
25   when entering privately owned commercial establishments open to the public,
26   attending public gatherings, visiting parks and amusement parks, and traveling on
27   public transportation. See Ham Decl. ¶¶ 8, 10–13. And all three individual Plaintiffs
28   would carry their personal firearms for self-defense in bars, restaurants, and other
                         MEMO. OF POINTS & AUTHORITIES ISO PRELIMINARY INJUNCTION
                                                   -4-
 Case 8:23-cv-01798 Document 6-1 Filed 09/26/23 Page 13 of 33 Page ID #:44



 1   establishments serving alcohol for consumption on the premises, but for SB2 and the
 2   instructions in their CCW permit application.2 See Carralero Decl. ¶ 12; Ham Decl. ¶
 3   9; Schwartz Decl. ¶ 14. When doing so, they would not consume alcohol. See
 4   Carralero Decl. ¶ 12; Ham Decl. ¶ 9; Schwartz Decl. ¶ 14. All these individuals are
 5   thus stripped of their Second Amendment right to public carry in the challenged
 6   locations.
 7                                         ARGUMENT
 8   I.    Preliminary Injunction Standard
 9         Plaintiffs seeking a preliminary injunction must establish that (1) they are likely
10   to succeed on the merits; (2) they are likely to suffer irreparable harm without
11   preliminary relief; (3) the balance of equities favors them; and (4) the injunction is in
12   the public interest. See Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008).
13   Likelihood of success on the merits is “[t]he most important” factor. Junior Sports
14   Mags., Inc. v. Bonta, No. 22-56090, 2023 WL 5945879, at *3 (9th Cir. Sept. 13, 2023);
15   California v. Azar, 911 F.3d 558, 575 (9th Cir. 2018). If Plaintiffs show that a law is
16   likely unconstitutional, the other three Winter factors favor an injunction. See id. And
17   because “even a brief deprivation of a constitutional right causes irreparable injury,”
18   this Court should act “expeditiously” in ruling on Plaintiffs’ motion. Baird v. Bonta,
19   No. 23-15016, 2023 WL 5763345, at *8–9 (9th Cir. Sept. 7, 2023).
20   II.   The Challenged Provisions Likely Violate Plaintiffs’ Second Amendment
21         Rights.
22         “[T]he Second Amendment guarantees a general right to public carry,” meaning
23   ordinary, law-abiding citizens may “‘bear’ arms in public for self-defense.” Bruen,
24   2
       For years, California apparently required CCW permit applicants to sign away their
25   rights to carry at establishments whose “primary purpose” is to dispense alcoholic
     beverages. See Carralero Decl. ¶ 12; Ham Decl. ¶ 9; Schwartz Decl. ¶ 14; see also
26   Standard Initial and Renewal Application for License to Carry a Concealed Firearm
     at 5, CAL. DEP’T OF JUST., https://tinyurl.com/5dzdff49 (last visited Sept. 26, 2023).
27   While this restriction does not appear to be based on any legal authority, Plaintiffs
     comply with it anyway for fear of prosecution. See Carralero Decl. ¶ 12; Ham Decl. ¶
28   9; Schwartz Decl. ¶ 14.
                         MEMO. OF POINTS & AUTHORITIES ISO PRELIMINARY INJUNCTION
                                                   -5-
 Case 8:23-cv-01798 Document 6-1 Filed 09/26/23 Page 14 of 33 Page ID #:45



 1   142 S. Ct. at 2135. Accordingly, the “general right to public carry” cannot be restricted
 2   absent “exceptional circumstances.” Id. at 2156.
 3         To determine whether a governmental restriction on carry is constitutional, the
 4   Bruen analysis ensures the Second Amendment is implicated, and then places the
 5   burden on the government to justify its regulation of constitutionally protected
 6   conduct. If the Second Amendment’s text covers an individual’s conduct, the
 7   Constitution presumptively protects that conduct. See id. at 2129–30. If Plaintiffs
 8   satisfy that requirement, “[t]he government must then justify its regulation by
 9   demonstrating that it is consistent with the Nation’s historical tradition of firearm
10   regulation.” Id. In other words, it is the State’s burden to “affirmatively prove that its
11   firearm regulation is part of the historical tradition that delimits the outer bounds of
12   the right to keep and bear arms.” Id. at 2127; see also id. at 2150 (“[W]e are not
13   obliged to sift the historical materials for evidence to sustain [the State’s] statute. That
14   is respondents’ burden.”).
15         California will be unable to show that the challenged provisions of SB2 are part
16   of a historical tradition of firearm restrictions or analogous to permissible “sensitive
17   place” restrictions. Id. at 2132–34. Thus, this Court must enjoin them.
18         A.     The Second Amendment’s Plain Text Covers Plaintiffs’ Conduct.
19         Plaintiffs’ proposed course of conduct—licensed carry in various public
20   places—falls within the Second Amendment’s plain text. Bruen, 142 S. Ct. at 2126.
21   So “the Constitution presumptively protects that conduct.” Id.
22         The Supreme Court has already defined the Second Amendment’s key terms
23   relevant here. “The people” includes “all Americans”; “Arms” includes “all
24   instruments that constitute bearable arms[,]” including handguns; and, to “bear”
25   simply means to “carry.” District of Columbia v. Heller, 554 U.S. 570, 580–82, 584
26   (2008); Bruen, 142 S. Ct. at 2132. Importantly, “[n]othing in the Second
27   Amendment’s text draws a home/public distinction with respect to the right to keep
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                          MEMO. OF POINTS & AUTHORITIES ISO PRELIMINARY INJUNCTION
                                                    -6-
 Case 8:23-cv-01798 Document 6-1 Filed 09/26/23 Page 15 of 33 Page ID #:46



 1   and bear arms.” Bruen, 142 S. Ct. at 2134. Thus, the “definition of ‘bear’ naturally
 2   encompasses public carry” for self-defense. Id. at 2134–35.
 3         The Supreme Court’s binding interpretation of these words and phrases
 4   establishes that Plaintiffs’ proposed conduct is presumptively protected by the Second
 5   Amendment. Plaintiffs and their members are Americans who seek to carry bearable
 6   arms (handguns) for self-defense in public during their daily lives. As in Bruen, these
 7   undisputed facts end the textual inquiry. See Bruen, 142 S. Ct. at 2134.
 8         B.     The State Cannot Meet Its Burden to Offer Historical Analogues.
 9         Under Bruen, the burden now shifts to California. It must show that the
10   challenged provisions are “consistent with this Nation’s historical tradition of firearm
11   regulation.” Id. at 2135. And it must do so by offering persuasive legal history. See id.
12   at 2130 n.6 (courts “decide a case based on the historical record compiled by the
13   parties”). But no historical tradition of analogous regulation exists. Under Bruen, three
14   considerations must guide the State’s presentation (and the Court’s consideration) of
15   the State’s historical evidence.
16         First, any proffered historical analogue must be from at or around the Founding,
17   centering on 1791, when the Second Amendment was ratified. See Bruen, 142 S. Ct.
18   at 2136. “Constitutional rights are enshrined with the scope they were understood to
19   have when the people adopted them.” Heller, 554 U.S. at 634–35; see also Bruen, 142
20   S. Ct. at 2136. Thus, “not all history is created equal,” and courts must be careful not
21   to overweigh historical evidence that long predates or postdates the Founding. Bruen,
22   142 S. Ct. at 2136; see also Mark W. Smith, ‘Not all History is Created Equal’: In the
23   Post-Bruen World, the Critical Period for Historical Analogues Is When the Second
24   Amendment Was Ratified in 1791, and not 1868, SSRN, Oct. 1, 2022,
25   https://bit.ly//3CMSKjw. By looking to 1791, the Court in Bruen continued its
26   practice of focusing on the Founding era when analyzing constitutional rights. See,
27   e.g., Ramos v. Louisiana, 140 S. Ct. 1390, 1396 (2020) (discussing the history of a
28   unanimous jury right by referencing “young American states” and the “backdrop” of
                         MEMO. OF POINTS & AUTHORITIES ISO PRELIMINARY INJUNCTION
                                                   -7-
 Case 8:23-cv-01798 Document 6-1 Filed 09/26/23 Page 16 of 33 Page ID #:47



 1   the ratification of the Bill of Rights in 1791); Timbs v. Indiana, 139 S. Ct. 682, 687–
 2   88 (2019) (discussing “colonial-era provisions” and the “constitutions of eight States”
 3   when analyzing the Eighth Amendment excessive fines clause); Virginia v. Moore,
 4   553 U.S. 164, 168 (2008) (looking to the “statutes and common law of the founding
 5   era to determine the norms that the Fourth Amendment was meant to preserve”); cf.
 6   Lynch v. Donnelly, 465 U.S. 668, 674 (1983) (finding the decisions of the 1789
 7   Congress to be of “special significance” to the Court’s Establishment Clause analysis).
 8         While the Bruen Court noted that an academic debate exists about whether
 9   history from 1868 (when the Fourteenth Amendment was adopted) may be relevant,
10   the Court found no need to address that question. Bruen, 142 S. Ct. at 2138. The Court
11   confirmed that it has “generally assumed that the scope of the protection applicable to
12   the Federal Government and States is pegged to the public understanding of the right
13   when the Bill of Rights was adopted in 1791.” Id. at 2137.3 Thus, “to the extent later
14   history contradicts what the text [of the Second Amendment] says, the text controls.”
15   Id. at 2137; see also id. at 2163 (Barrett, J., concurring) (noting that “freewheeling
16   reliance on historical practice from the mid-to-late 19th century to establish the
17   original meaning” of the Second Amendment is improper). And the Court’s
18   precedents teach that even extensive history will not move the needle if it long post-
19   dates the Founding. See, e.g., Espinoza v. Mont. Dep’t of Revenue, 140 S. Ct. 2246,
20   2258–59 (2020) (finding unpersuasive “more than 30” provisions of state law from
21   the “second half of the 19th Century” because they were not grounded in Founding-
22   era practices regarding the Free Exercise Clause). At most, the Supreme Court has
23   looked to 19th century evidence as “mere confirmation of what the Court thought had
24   already been established” at the Founding. Id. at 2137.
25   3
        The Bruen Court also reiterated that “individual rights enumerated in the Bill of
26   Rights and made applicable to the States through the Fourteenth Amendment have the
     same scope as against the Federal Government.” Bruen, 142 S. Ct. at 2137. Because
27   1791 is the relevant historical period for assessing historical analogues in the face of
     federal government infringement on rights, it applies equally to alleged state
28   government infringement.
                         MEMO. OF POINTS & AUTHORITIES ISO PRELIMINARY INJUNCTION
                                                   -8-
 Case 8:23-cv-01798 Document 6-1 Filed 09/26/23 Page 17 of 33 Page ID #:48



 1            Second, to be a “proper analogue,” a law must be “relevantly similar” based on
 2   “how and why the regulations burden a law-abiding citizen’s right to armed self-
 3   defense.” Bruen, 142 S. Ct. at 2132–33. In other words, the modern regulation must
 4   impose a “comparable burden on the right of armed self-defense” as did the historical
 5   regulation, and for a similar reason. Id. at 2133. This requirement means that Founding
 6   era laws arising in different contexts, and for different reasons, will be inapt
 7   comparators. For example, hunting regulations in 1791 tell us little about whether
 8   California can ban carry in establishments selling alcohol. Such Founding era laws
 9   regulated the right to carry firearms in a particular circumstance—when hunting (the
10   “how”). And the rationale for such restrictions included regulating hunting and
11   reducing the taking of certain animals (the “why”). Neither has much resemblance to
12   an individual’s right to self-defense at a restaurant with a liquor license in California
13   today.
14            Third, historical analogues must be representative. Laws existing in only a few
15   jurisdictions—historical “outlier[s]”—should be disregarded. Bruen, 142 S. Ct. at
16   2133. A smattering of regulations is not a “historical tradition” of regulation sufficient
17   to inform the original public meaning of the right at the Founding. See, e.g., id. at 2153
18   (rejecting restrictions in one state statute and two state court decisions as not
19   representative); id. at 2142 (doubting that “three colonial regulations could suffice to
20   show a tradition of public-carry regulation” (emphasis omitted)); Koons v. Platkin,
21   No. 22-7464, 2023 WL 3478604, at *68 (D.N.J. May 16, 2023) (finding three
22   Reconstruction era laws non-representative); see also id. at *85 (finding one state law
23   and 25 local ordinances, covering less than 10% of the nation’s population,
24   insufficient). Similarly, laws in the territories are afforded “little weight” because they
25   were “localized,” “rarely subject to judicial scrutiny,” and “short lived.” Bruen, 142
26   S. Ct. at 2154–55; see also Antonyuk v. Hochul, 639 F. Supp. 3d 232, 332 (N.D.N.Y.
27   2022) (Antonyuk II) (rejecting laws from the territories).
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                           MEMO. OF POINTS & AUTHORITIES ISO PRELIMINARY INJUNCTION
                                                     -9-
 Case 8:23-cv-01798 Document 6-1 Filed 09/26/23 Page 18 of 33 Page ID #:49



 1         In sum, what matters under Bruen is the “public understanding of the right to
 2   keep and bear arms” during and around 1791, as revealed by relevantly similar and
 3   representative historical analogues. Bruen, 142 S. Ct. at 2136.
 4                1.     The Challenged Provisions in SB2 Are Inconsistent with the
 5                       Historical Tradition of Firearm Regulation.
 6                       a.     The no-carry default in private businesses
 7         Rather than presuming licensed law-abiding citizens have constitutional rights
 8   to carry, SB2 does the opposite. It places the burden on individuals to secure consent
 9   from businesses open to the public before they can exercise their right to carry firearms
10   for self-defense. See Cal. Pen. Code. § 26230(26). This turns our Nation’s traditional
11   regulatory approach on its head. At the Founding, “private property owners” had
12   principal responsibility to “exclude others from their property.” Christian v. Nigrelli,
13   642 F. Supp. 3d 393, 407 (W.D.N.Y 2022); accord Kopel & Greenlee, The “Sensitive
14   Places” Doctrine, 13 CHARLESTON L. REV. 205, 290–91 (2018). As such, carrying on
15   private property is “generally permitted absent the owner’s prohibition.” Christian,
16   642 F. Supp. 3d at 407 (emphasis added).
17         These principles stem from the law of trespass, specifically “the well-developed
18   concept of implied license.” Koons, 2023 WL 3478604, at *58. Generally, the public
19   has implied consent to enter property open to the public, “unless such consent is
20   conditioned or subsequently revoked by the property owner.” Id. And because “[t]he
21   right to armed self-defense follows the individual everywhere he or she lawfully goes”
22   in public, Bruen, 142 S. Ct. at 2155, carrying on property open to the public is
23   permitted unless the owner “withdraw[s] consent,” Koons, 2023 WL 3478604, at *61.
24   Given these principles, California will be unable to point to any relevant Founding era
25   firearm regulation supporting the no-carry default. The State’s effort to flip a
26   longstanding Second Amendment presumption cannot stand.
27         And the reason the State has sought to flip the default rule is obvious. “Given
28   the inertial tendency to stick with the status quo, lawmakers should expect that a
                         MEMO. OF POINTS & AUTHORITIES ISO PRELIMINARY INJUNCTION
                                                   -10-
 Case 8:23-cv-01798 Document 6-1 Filed 09/26/23 Page 19 of 33 Page ID #:50



 1   ‘prohibited-unless permitted’ default would radically expand the private spaces where
 2   guns could not be carried.” Ian Ayres & Spurthi Jonnalagadda, Guests with Guns:
 3   Public Support for “No Carry” Defaults on Private Land, 48 J. L. MED. & ETHICS
 4   183, 184 (2020). After all, a “default rule” of interaction with strangers—including
 5   members of the public coming to a property open to the public—is particularly
 6   “sticky.” See generally Omri Ben-Shahar & John A.E. Pottow, On the Stickiness of
 7   Default Rules, 33 FLA. ST. U. L. REV. 651, 653 (2006). By “sticky,” legal scholars
 8   mean that individuals have a well-known tendency to stick by the default rule even
 9   when they would otherwise take a different position. Id. at 651–54.
10         Thus, California businesses, which might otherwise allow or be indifferent to
11   licensed carry on their property, may stick to the new default. If they do, it “might
12   have knockon effects, reducing preferences to carry and possess firearms more
13   generally, as it becomes increasingly inconvenient to do so.” Ayres & Jonnalagadda,
14   Guests with Guns: Public Support for “No Carry” Defaults on Private Land, supra,
15   at 184. This is likely for the Individual and Organizational Plaintiffs who have all
16   declared that they would drastically reduce their carry of guns for self-defense when
17   the no-carry default at private businesses goes into effect. See Carralero Decl. ¶ 10;
18   Ham Decl. ¶ 8; Schwartz Decl. ¶ 15. And the right of self-defense may well become
19   necessary for Plaintiffs at one of these private business, as violent actors may enter
20   them at any time. See, e.g., Orlando Mayorquin, Store Owner is Fatally Shot by Man
21   Who Confronted Her About Pride Flag, N.Y. TIMES (Aug. 20, 2023),
22   https://nyti.ms/3rbCMOg.
23         In sum, California cannot flip a constitutional presumption. The default is that
24   Plaintiffs and their members—indeed all law-abiding Americans—have a “right to
25   ‘bear’ arms in public for self-defense.” Bruen, 142 S. Ct. at 2135. No historical
26   analogue supports the no-carry default in SB2 and it cannot stand.
27
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                         MEMO. OF POINTS & AUTHORITIES ISO PRELIMINARY INJUNCTION
                                                   -11-
 Case 8:23-cv-01798 Document 6-1 Filed 09/26/23 Page 20 of 33 Page ID #:51



 1                       b.     Places selling liquor for consumption on the premises
 2         SB2 also bans licensed carry in places selling liquor for consumption on the
 3   premises. Cal. Pen. Code § 26230(9). But California will be unable to establish a
 4   historical tradition banning possession of firearms in such places. Taverns, public
 5   houses, restaurants serving alcohol, and other establishments where alcohol is present
 6   obviously existed at the Founding. See, e.g., Antonyuk II, 639 F. Supp. 3d at 335
 7   (describing the Founding era existence of taverns, inns, public houses, ‘tippling
 8   houses,’ ‘victualing houses,’ or ‘ordinaries’”).
 9         Indeed, “[i]n all states” during the Founding era, “tavern legislation was
10   involved and constantly changing.” Christine Sismondo, AMERICA WALKS INTO A
11   BAR: A SPIRITED HISTORY OF TAVERNS, SALOONS, SPEAKEASIES AND GROG SHOPS 15
12   (Oxford 2011). Nevertheless, Plaintiffs are unaware of any Founding era tradition
13   banning mere possession of firearms in these places, even though violence in and
14   around them is nothing new. While California may point to a historical outlier or two,
15   this Court cannot “stake [its] interpretation of the Second Amendment upon a law in
16   effect in a single State, or a single city, ‘that contradicts the overwhelming weight of
17   other evidence regarding the right to keep and bear arms’ in public for self-defense.”
18   Bruen, 142 S. Ct. at 2154 (quoting Heller, 554 U.S. at 632). Under Bruen, the lack of
19   relevant historical analogues is dispositive. See id. at 2131 (“[W]hen a challenged
20   regulation addresses a general societal problem that has persisted since the 18th
21   century, the lack of a distinctly similar historical regulation addressing that problem
22   is relevant evidence that the challenged regulation is inconsistent with the Second
23   Amendment.”)
24         Finally, if California argues that guns and alcohol should not mix, such policy
25   arguments carry no weight for this Court’s constitutional analysis. See Bruen, 142 S.
26   Ct. at 2129, 2131. And in any event, bars and other establishments selling liquor are
27   locations where exercising one’s Second Amendment right to self-defense may
28   become necessary. See, e.g., Shawn Hubler et al., Gunman Kills 3 at Biker Bar in
                         MEMO. OF POINTS & AUTHORITIES ISO PRELIMINARY INJUNCTION
                                                   -12-
 Case 8:23-cv-01798 Document 6-1 Filed 09/26/23 Page 21 of 33 Page ID #:52



 1   California,    Then        Dies     in    Shootout,      N.Y.      TIMES      (Aug.   24,   2023),
 2   https://tinyurl.com/yc3hjhdp. And Plaintiffs are not asserting a right to carry a firearm
 3   while drinking alcohol, but rather merely to carry a firearm where others may be
 4   drinking alcohol. See, e.g., Carralero Decl. ¶ 12; Ham Decl. ¶ 9; Schwartz Decl. ¶ 14.
 5                         c.       Gambling establishments
 6         SB2 similarly bans licensed carry in buildings “used for gambling or gaming,”
 7   including “casinos, gaming clubs, bingo operations, facilities licensed by the
 8   California Horse Racing Board, or a facility wherein banked or percentage games, any
 9   form of gambling device, or lotteries, other than the California State Lottery, are or
10   will be played.” Cal. Pen. Code § 26230(9). This restriction has no basis in the nation’s
11   history or tradition.
12         On the contrary, America “has a long history of gambling establishments.”
13   Koons, 2023 WL 3478604, at *88. “Gambling in the English-speaking world was a
14   powerful economic and social force from the 1660s . . . into the 1800s.” Ed Crews,
15   Gambling: Apple-Pie American and Older than the Mayflower, COLONIAL
16   WILLIAMSBURG J. (Autumn 2008), https://tinyurl.com/23db8pzk. The practice
17   “crossed the Atlantic” into America, and “colonial gaming gained a character all its
18   own[,]” developing into a “pastime.” Id. Louisiana eventually established a casino in
19   1753. See Jay Precht, Legalized Gambling, 64 PARISHES (Nov. 16, 2011),
20   https://tinyurl.com/bdepz9rn. And Founding era Americans frequently bet on horse
21   races. See Crews, Apple-Pie American and Older than the Mayflower, supra. Indeed,
22   gambling was so pervasive that General Washington had to admonish soldiers in the
23   Continental Army for it. See id.
24         Despite the presence of gambling at the Founding, California will be unable to
25   offer any historical tradition of arms bans at gaming establishments. See Koons, 2023
26   WL 3478604, at *88–*89; Antonyuk v. Hochul, 635 F. Supp. 3d 111, 144 (N.D.N.Y.
27   2022) (Antonyuk I). Yet these locales, too, are places where the right to self-defense
28   may mean the difference between life and death. See, e.g., Jonathan Lloyd, Security
                             MEMO. OF POINTS & AUTHORITIES ISO PRELIMINARY INJUNCTION
                                                       -13-
 Case 8:23-cv-01798 Document 6-1 Filed 09/26/23 Page 22 of 33 Page ID #:53



 1   Guard Injured in Shootout with Armed Robbers at Hustler Casino, NBC L.A. (Aug.
 2   4, 2022), https://bit.ly/3PoVBp8. This provision of SB2 must also be enjoined under
 3   Bruen.
 4                      d.      Stadiums, arenas, and amusement parks
 5         SB2 also bans carry in any stadium, arena, or the parking lots of such venues,
 6   see Cal. Pen. Code § 26230(16), and in amusement parks, id. § 26230(19). As before,
 7   similar venues existed at the Founding. For example, racetracks were prevalent in the
 8   early colonies. See, e.g., JANE CARSON, COLONIAL VIRGINIANS 108 (1965); BARBARA
 9   PEPE, FREEHOLD: A HOMETOWN HISTORY 81 (2003) (In New Jersey, “[h]orses were
10   an integral part of the Freehold community and horseracing in Freehold dates back at
11   least to the 1830s, when farmers brought their fastest horses to a makeshift racetrack
12   at the same location as today’s Freehold Raceway.”); T.H. Breen, Horses and
13   Gentlemen: The Cultural Significance of Gambling Among the Gentry of Virginia, 34
14   WM. & MARY Q. 239, 251 (1977) (“By 1700, there were at least a dozen tracks,
15   important enough to be known by name, scattered throughout the counties of the
16   Northern Neck and the James River valley.”).
17         Despite widespread existence of venues analogous to stadiums and amusement
18   parks, no traditional ban on carry in those places existed. See, e.g., Koons, 2023 WL
19   3478604, at *87–*88 (finding no historical tradition of restricting weapons in
20   “entertainment facilities,” which include stadiums); Siegel v. Platkin, No. 1:22-cv-
21   7463, 2023 WL 1103676, at *14 (D.N.J. Jan. 30, 2023) (same). It is not enough for
22   the State to say that because crowds gather in such places, it may restrict carry. See
23   Bruen, 142 S. Ct. at 2133–34. The lack of any historical analogue in these contexts is
24   again dispositive. These provisions of SB2 must be enjoined.
25                      e.      Museums and libraries
26         SB2 also bans carry of firearms in any public library, see Cal. Pen. Code §
27   26230(17), and in museums, see id. § 26230(20). There is no well-established,
28   representative historical tradition banning firearms in these locations. Museums and
                         MEMO. OF POINTS & AUTHORITIES ISO PRELIMINARY INJUNCTION
                                                   -14-
 Case 8:23-cv-01798 Document 6-1 Filed 09/26/23 Page 23 of 33 Page ID #:54



 1   libraries date back to the colonial era in the United States. For example, the Charleston
 2   Museum       dates        to   1773.    See     About       Us,      CHARLESTON   MUSEUM,
 3   https://bit.ly/3MPYhMB (last visited Sept. 25, 2023). The Peabody Essex Museum
 4   was founded by sea captains in Salem, Massachusetts in 1799 as the East India Marine
 5   Society. See A Museum of Art and Culture, PEABODY ESSEX MUSEUM,
 6   https://bit.ly/439jDtl (last visited Sept. 25, 2023). The Peale Center in Baltimore
 7   opened its doors in 1814. See Our History, THE PEALE, https://bit.ly/41KAZvC (last
 8   visited May 23, 2023). New York’s first museum opened in 1804. See About Us, N.Y.
 9   HIST. SOC’Y MUSEUM & LIBRARY, https://bit.ly/3WkCcZF (last visited Sept. 25,
10   2023). And Benjamin Franklin founded America’s first lending library in Philadelphia
11   in 1731. “AT THE INSTANCE OF BENJAMIN FRANKLIN”: A BRIEF HISTORY OF THE
12   LIBRARY COMPANY OF PHILADELPHIA 5 (2015), https://bit.ly/3vdBGQk.
13         Despite the existence of museums and libraries in America during the Founding
14   and years after, the State will be unable to point to regulations that support a historical
15   tradition of banning firearms. See Koons, 2023 WL 3478604, at *86. And while it may
16   seem that these areas are unlikely places for violence, mere presence in them, too, may
17   call upon individuals to exercise self-defense rights. See, e.g., Karla Rendon et al., 1
18   Killed, 1 Injured in Shooting at San Diego Central Library: SDPD, NBC7 SAN DIEGO
19   (May 23, 2023), https://bit.ly/3ZmYk73. These provisions must be enjoined under
20   Bruen.
21                        f.        Hospitals and health care facilities
22         SB2 bans carry of firearms in any “public or private hospital . . . mental health
23   facility, nursing home, medical office, urgent care facility, or other place at which
24   medical services are customarily provided.” Cal. Pen. Code § 26230(7). No historical
25   tradition supports such a ban.
26         As the District Court of New Jersey recently held, “hospitals and medical care
27   facilities existed before and after this Nation’s founding.” Koons, 2023 WL 3478604,
28   at *93. For example, Bellevue Hospital opened in New York City in 1736 and is the
                          MEMO. OF POINTS & AUTHORITIES ISO PRELIMINARY INJUNCTION
                                                    -15-
 Case 8:23-cv-01798 Document 6-1 Filed 09/26/23 Page 24 of 33 Page ID #:55



 1   nation’s “oldest operating hospital.” Bellevue History, NYC HEALTH + HOSPITALS,
 2   https://bit.ly/4240MiB (last visited Sept. 25, 2023). And Benjamin Franklin helped
 3   found the Pennsylvania Hospital in 1751. See Koons, 2023 WL 3478604, at *93. Weill
 4   Cornell Medical Center opened as New York Hospital in 1791. Id. And “[u]p north,
 5   Massachusetts opened the Boston Medical Dispensary in 1796—today Tufts Medical
 6   Center—and then the Massachusetts General Hospital in 1811.” Id.
 7         There can be no doubt that the medical profession existed at the Founding.
 8   Nevertheless, the State will be unable to demonstrate a longstanding tradition of
 9   “relevantly similar” regulations prohibiting firearms in medical facilities. Bruen, 142
10   S. Ct. at 2133. And “when a challenged regulation addresses a general societal
11   problem that has persisted since the 18th century, the lack of a distinctly similar
12   historical regulation addressing that problem is relevant evidence that the challenged
13   regulation is inconsistent with the Second Amendment.” Id. at 2131.
14                       g.     Parks, areas controlled by California wildlife agencies,
15                              and zoos
16         SB2 also bans carry in any “park, athletic area, or athletic facility that is open
17   to the public and a street or sidewalk immediately adjacent to those areas[.]” Cal. Pen.
18   Code § 26230(12). Similarly, it prohibits carry in any “property under the control of
19   the Department of Parks and Recreation or Department of Fish and Wildlife,” except
20   designated hunting areas. Id. § 26230(13). And it prohibits carry in zoos. See id. §
21   26230(20).
22         Parks obviously existed before and during the Founding. For example, Boston
23   Common is considered “America’s oldest park” and was established in 1634. See
24   Koons, 2023 WL 3478604, at *83. It was commonly used for militia purposes—by
25   definition gun-friendly, rather than gun-free. See id. And “[t]he Common also served
26   as a site for informal socializing and recreation” including “[s]trolling,” “[h]orse- and
27   carriage-riding,” “sports,” “entertainment,” and “raucous celebrations.” See Anne
28   Beamish, Before Parks: Public Landscapes in Seventeenth- and Eighteenth-Century
                         MEMO. OF POINTS & AUTHORITIES ISO PRELIMINARY INJUNCTION
                                                   -16-
 Case 8:23-cv-01798 Document 6-1 Filed 09/26/23 Page 25 of 33 Page ID #:56



 1   Boston, New York, and Philadelphia, 40 LANDSCAPE J. 1, 3–6 (2021). In New York,
 2   City Hall Park began as a “public common” in the 17th century. The Earliest New
 3   York City Parks, N.Y. CITY DEP’T. OF PARKS & REC., https://tinyurl.com/4fckn7r4
 4   (last visited Sept. 26, 2023). Similarly, New York’s Bowling Green Park was
 5   established “for the Recreation & Delight of the Inhabitants of [New York] City” in
 6   1733. Id. And in the South, Savannah was planned around public squares—open green
 7   spaces which became the landscaped parks that residents know today. See Turpin
 8   Bannister, Oglethorpe’s Sources for the Savannah Plan, 20 J. OF SOC’Y OF ARCH.
 9   HIST. 47, 48 (1961) (noting that Savannah’s squares started initially as “open,
10   unplanted plazas” and were “remodel[ed] . . . around 1800 . . . into landscaped
11   neighborhood parks”).
12         Government-controlled state parks resemble those early parks, but at even
13   greater scale. California is home to 279 state parks spanning some 1.6 million acres.
14   See 2021 Annual Report, PARKS CALIFORNIA, https://tinyurl.com/4b7w7sdc. Many
15   visitors, including Plaintiff Carralero, enjoy hiking, camping, and recreating in these
16   state parks. And much, if not all, of this land are “vast expanses” of the great outdoors
17   “where people are generally free to roam.” Antonyuk II, 639 F. Supp. 3d at 325. Like
18   city parks, the State will simply be unable to point to any historical tradition of banning
19   firearms in State-controlled nature preserves either. Even prior to Bruen, courts had
20   rejected such locations as “sensitive places.” See, e.g., Bridgeville Rifle & Pistol Club,
21   Ltd. v. Small, 176 A.3d 632, 658 (Del. 2017) (holding that State parks and State forests
22   were not “sensitive places” and that the State’s ban on firearms in such places was
23   unconstitutional under Delaware’s version of the Second Amendment); People v.
24   Chairez, 2018 IL 121417, 104 N.E.3d 1158, 1176 (2018) (holding that an Illinois
25   statute that banned the possession of a firearm within 1000 feet of a public park
26   violated the Second Amendment, rejecting the argument that the area was a
27   “sensitive” place); Morris v. Army Corps of Eng’rs, 60 F. Supp. 3d 1120, 1123–25
28   (D. Idaho 2014), appeal dismissed sub nom., Nesbitt v. Army Corps of Eng’rs, No. 14-
                          MEMO. OF POINTS & AUTHORITIES ISO PRELIMINARY INJUNCTION
                                                    -17-
 Case 8:23-cv-01798 Document 6-1 Filed 09/26/23 Page 26 of 33 Page ID #:57



 1   36049, 2017 WL 11676289 (9th Cir. Dec. 15, 2017) (rejecting the government’s
 2   argument that U.S. Army Corps of Engineers’ outdoor recreation sites were sensitive
 3   places); Solomon v. Cook Cnty. Bd. of Comm’rs, 559 F. Supp. 3d 675, 690–96 (N.D.
 4   Ill. 2021) (finding a forest preserve district was not a “sensitive place”).
 5          Finally, zoos. While there do not appear to have been zoos in 1791 or a few
 6   decades thereafter, they originated “in public parks, such as New York City’s Central
 7   Park, Philadelphia’s Fairmount Park, and Chicago’s Lincoln Park” during
 8   Reconstruction. Koons, 2023 WL 3478604, at *80; see also id. at *80 n.59 (collecting
 9   examples of Reconstruction-era zoos). Yet California will be unable to supply
10   evidence of a historical tradition banning firearms in zoos, much like it will fail to do
11   so for parks, possibly the best Founding era analogue for zoos. Indeed, two district
12   Courts have already held that there is no historical tradition of banning firearms in
13   zoos. See Antonyuk II, 639 F. Supp. 3d at 326 (“No historical statutes have been cited
14   by the State Defendants (or located by the Court) expressly prohibiting firearms in
15   ‘zoos’ . . . despite the fact that, between 1864 and 1883, zoos appeared to have opened
16   in cities[.]”); Koons, 2023 WL 3478604, at *81 (“[T]he laws reveal a lack of
17   consensus among the state about carrying firearms in public, particularly in states that
18   had zoos . . . three localized restrictions do not establish a historical tradition of
19   banning firearms at zoos.”).
20          In sum, despite the existence of parks dating to the Founding, there is no
21   relevantly similar historical tradition of banning firearms by ordinary, law-abiding
22   citizens while in them. Indeed, to the extent militias trained in some parks, the opposite
23   is true.
24                       h.      Public gatherings or special events
25          SB2 likewise bans carry in “[a] public gathering or special event conducted on
26   property open to the public that requires the issuance of a permit from a federal, state,
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                          MEMO. OF POINTS & AUTHORITIES ISO PRELIMINARY INJUNCTION
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 Case 8:23-cv-01798 Document 6-1 Filed 09/26/23 Page 27 of 33 Page ID #:58



 1   or local government and sidewalk or street immediately adjacent to the public
 2   gathering or special event[.]” Cal. Pen. Code § 26230(10).
 3         This category is exceptionally broad, likely encompassing everything from
 4   political rallies to public markets to neighborhood block parties. Public gatherings of
 5   all sorts obviously existed at the Founding. Indeed, the Founders themselves used such
 6   public gatherings to speak to fellow citizens about American Independence. See, e.g.,
 7   “American     Independence,”         Samuel       Adams        Speech       (Aug.   1,   1776),
 8   https://tinyurl.com/3zued27k (delivered on the steps of the Philadelphia State House).
 9   Similarly, to protest British rule and gather to discuss the issues of the day, colonists
10   frequently erected “Liberty Poles” around which they gathered. See, e.g., Monuments
11   of Colonial New York: George III and Liberty Poles, GOTHAM CTR. (Oct. 15, 2020),
12   https://tinyurl.com/bdzkafap (General Thomas Gage once remarked that “[i]t is now
13   as common here to assemble on all occasions of public concern at the Liberty Pole
14   and Coffee House as for the ancient Romans to repair to the Forum. And orators
15   harangue on all sides[.]”). There is no identifiable historical tradition that firearms
16   were banned at any of the numerous public gatherings at the Founding. Indeed,
17   colonists sometimes arrived armed to political gatherings in which they could
18   potentially clash with British soldiers. See, e.g., id.; see also Koons, 2023 WL
19   3478604, at *72–*73 (“The colonial generation recognized that citizens attending
20   public gatherings exposed themselves to violent attack . . . To abate that risk,
21   American colonists obligated their citizenry to arm themselves for protection.”). So
22   too today when violence at public gatherings persists. See, e.g., Lauren Hepler et al.,
23   Gilroy Shooting: Two Children Among the Dead at California Festival, N.Y. Times
24   (July 29, 2019), https://nyti.ms/3PtDbTY. This provision of SB2 must also be
25   enjoined under Bruen.
26                       i.      Public Transportation
27         SB2 also restricts carry while in various forms of public transportation,
28   including buses, trains, and other forms of state-sponsored transportation. Cal. Pen.
                          MEMO. OF POINTS & AUTHORITIES ISO PRELIMINARY INJUNCTION
                                                    -19-
 Case 8:23-cv-01798 Document 6-1 Filed 09/26/23 Page 28 of 33 Page ID #:59



 1   Code § 26230(8). And the ban extends to parking areas and buildings “under the
 2   control of a transportation authority supported in whole or in part with public funds.”
 3   Id.
 4         While modern trains or buses obviously did not exist at the Founding, public
 5   transportation itself is not a new phenomenon. For example, passengers used to share
 6   stagecoaches on journeys throughout the colonies before the Revolution and in the
 7   states after it. See, e.g., Oliver W. Holmes, The Stage-Coach Business in the Hudson
 8   Valley, THE Q. J. OF THE N.Y. STATE HIST. ASS’N 231–33 (1931) (“Staging had
 9   developed somewhat in the colonies before the Revolution, especially around
10   Boston and Philadelphia.”). Additionally, the public used riverboats and ferries during
11   the Founding. And they carried arms on these forms of transportation. For example,
12   South Carolina established a “public ferry” as early as 1725 and mandated “free”
13   “ferriage” for “all persons under arms in times of alarms and expresses.” 9 STATUTES
14   AT LARGE OF SOUTH CAROLINA 61 (1841). And arms, such as blunderbusses, were

15   carried on stagecoaches. See Nicholas J. Johnson et al., SECOND AMENDMENT:
16   REGULATION, RIGHTS, AND POLICY 2195 (3d ed. 2021) (“Stagecoach guards and
17   travelers carried blunderbusses, or other short guns, such as traveling or coaching
18   carbines, or (most often) a pair of ordinary pistols.”). Plaintiffs are not aware of any
19   Founding era tradition of banning the possession of a firearm while traveling on these
20   public modes of transportation.
21                                                *****
22         In sum, for each of SB2’s challenged provisions, California will be unable to
23   point to a relevant, representative historical analogue. Without that evidence, the
24   State cannot prevail under Bruen.
25                2.     SB2’s Location Specific Bans Are Not Analogous to
26                       Permissible “Sensitive Place” Restrictions.
27         Recognizing that it lacks analogous Founding era regulations to support
28   restriction of carry in the locations just discussed, California will fall back on Bruen’s
                          MEMO. OF POINTS & AUTHORITIES ISO PRELIMINARY INJUNCTION
                                                    -20-
 Case 8:23-cv-01798 Document 6-1 Filed 09/26/23 Page 29 of 33 Page ID #:60



 1   suggestion that carry restrictions are permissible in “sensitive places.” But the State
 2   impermissibly stretches that narrow exception to swallow the general rule of public
 3   carry for self-defense.
 4         SB2’s laundry list of locations renders most publicly frequented areas of
 5   California a “sensitive place.” Indeed, the challenged provisions effectively render
 6   licensed carry outside of one’s home impossible in many circumstances. A Californian
 7   taking public transportation to go grocery shopping and then go to a park for a picnic
 8   can leave the threshold of her house with a gun but cannot enter any of her other
 9   destinations with it. There was no public understanding in 1791 that the government
10   could so broadly restrict licensed public carry in this way.
11         Most problematically, defining sensitive places to encompass essentially all
12   locations flouts the Supreme Court’s instructions in Bruen. While the Court did not
13   delineate an all-encompassing list of sensitive places, it mentioned only three such
14   locations at the Founding “where weapons were altogether prohibited”: legislative
15   assemblies, polling places, and courthouses. See Bruen, 142 S. Ct. at 2133; see also
16   Kopel & Greenlee, The “Sensitive Places” Doctrine, supra, at 289–90. Accordingly,
17   this Court may analogize to “those historical regulations of ‘sensitive places’ to
18   determine that modern regulations prohibiting the carry of firearms in new and
19   analogous sensitive places are constitutionally permissible.” Id. (emphasis added). But
20   it cannot accept California’s likely attempt to link its location-specific bans to these
21   narrow categories.
22         Indeed, the three sensitive places Bruen identified all shared a key characteristic
23   at the Founding. Legislative assemblies, polling places, and courthouses were all
24   securable locations that were protected by heightened government-provided security,
25   greatly reducing the public’s need for individual weapons. See e.g., Kopel & Greenlee,
26   The “Sensitive Places” Doctrine, supra, at 292 (“When armed guards are present, the
27   government takes the responsibility for having armed force at the ready to protect
28   citizens.”); Amicus Br. of The Ctr. for Human Liberty at 8–17, Antonyuk v. Nigrelli,
                          MEMO. OF POINTS & AUTHORITIES ISO PRELIMINARY INJUNCTION
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 Case 8:23-cv-01798 Document 6-1 Filed 09/26/23 Page 30 of 33 Page ID #:61



 1   No. 22-2908, ECF No. 313 (2d Cir. Feb. 9, 2023); Amici Br. of Citizens Comm. for
 2   the Right to Keep & Bear Arms, et al. 8–17, Koons v. Platkin, No. 23-1900, ECF No.
 3   91 (3d Cir. Aug. 16, 2023).4 The sensitive nature of these places was never a matter
 4   of simple government fiat.
 5         The closest thing to the comprehensive security provided at the Founding in
 6   legislative assemblies, polling places, and courthouses today is that of TSA at the
 7   airport or guards and metal detectors at entrances to courthouses. See Koons, 2023
 8   WL 3478604, at *90 (“Airports have many security measures such as Transportation
 9   Security Administration (TSA) officers, air marshals, police officers, metal detectors,
10   and luggage scanners that all check people and their baggage for weapons and
11   dangerous devices, like explosives.”); Hardaway v. Nigrelli, No. 22-CV-771 (JLS),
12   2022 WL 16646220, at *14 (W.D.N.Y. Nov. 3, 2022) (explaining that sensitive places
13   are “typically secured locations”).
14         That the government can prohibit firearms in these places is significantly
15   different than the breadth of California’s prohibition here. The historic central purpose
16   of the Second Amendment is ensuring Americans can be “armed and ready” for
17   “ordinary self-defense needs.” Bruen, 142 S. Ct. at 2150. But when the government
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     4
19     Other examples of Founding Era regulations in these places include: THE PUBLIC
     LAWS OF THE STATE OF SOUTH CAROLINA 271 (Grimke ed. 1790) (“The Said sheriffs
20   shall by themselves, or their lawful deputies respectively, attend all the courts hereby
     appointed, or directed to be held, within their respective districts”); VOTES AND
21   PROCEEDINGS OF THE HOUSE OF DELEGATES OF THE STATE OF MARYLAND: NOVEMBER
     SESSION 1791, at *2 (Green ed., 1795) (appointing sergeant at arms and door-keeper
22   for state legislature); PENNSYLVANIA STATUTES AT LARGE, VOLUME X: 1779-81, 378
     (Stanley Ray ed., 1904) (“sergeant-at-arms” and “door-keeper” for legislature); 1
23   LAWS OF THE STATE OF NEW YORK 176 (2d ed., Albany: Websters & Skinner 1807)
     (requiring during court “all justices of the peace, coroners, bailiffs, and constables
24   within their respective counties, that they be then and there in their own persons… .
     And the said respective sheriffs and their officers shall then and there attend in their
25   own proper persons.”); ABRIDGEMENT OF THE PUBLIC PERMANENT LAWS OF VIRGNIA
     42 (Davis ed., 1796) (court’s “serjeant at arms”); A DIGEST OF THE LAWS OF THE STATE
26   OF GEORGIA, 1800 Ga. Laws 611 (Watkins ed., 1800) (“[T]he sheriff of each county
     or his deputy, is required to attend at such elections, for the purpose of enforcing the
27   orders of the presiding magistrates in preserving good order.”); 1 LAWS OF THE STATE
     OF NEW JERSEY 36 (Bloomfield ed., 1811) (polling places); 2 LAWS OF THE STATE OF
28   DELAWARE 984 (Samuel & John Adams eds., 1797) (polling places).
                         MEMO. OF POINTS & AUTHORITIES ISO PRELIMINARY INJUNCTION
                                                   -22-
 Case 8:23-cv-01798 Document 6-1 Filed 09/26/23 Page 31 of 33 Page ID #:62



 1   secures a location and protects those in it, there is less of a need for ordinary, law-
 2   abiding Americans to be ready to defend themselves. See id. at 2133. The problem for
 3   California is that state-provided comprehensive security is nowhere to be found at the
 4   challenged provisions in SB2. No Californian walks past numerous armed guards and
 5   through metal detectors to eat at a restaurant, picnic in a park, to take public
 6   transportation, or to go hiking in the wilderness. Notably, California previously
 7   allowed licensed individuals to carry for self-defense in many of the challenged
 8   locations pre-Bruen. And some 121,000 Californians held licenses. See, e.g.,
 9   California      Concealed          Carry             Overview,        CONCEALED   COAL.,
10   https://tinyurl.com/3kjvwcnp (last visited Sept. 26, 2023). Simply because more
11   people can get licenses post-Bruen does not mean that places where licensees used to
12   carry become “sensitive” overnight.
13          In sum, California, defying Bruen, has designated large swaths of public life
14   “gun free zones.” In doing so, it ignores the Supreme Court’s instruction that
15   “sensitive places” are “few” and “exceptional.” Bruen, 142 S. Ct. at 2133, 2156;
16   Range v. U.S. Att’y Gen., 69 F.4th 96, 105 (3d Cir. 2023) (“[H]istorical restrictions on
17   firearms in ‘sensitive places’ do not empower legislatures to designate any place
18   ‘sensitive’ and then ban firearms there[.]”). This Court should join the growing chorus
19   of cases holding that such broad-based locations restrictions on public carry violate
20   the Second Amendment after Bruen. See, e.g., Antonyuk II, 639 F. Supp. 3d 232;
21   Christian, 642 F. Supp. 3d 393; Koons, 2023 WL 3478604; Siegel, 2023 WL 1103676.
22   III.   The Other Factors Favor a Preliminary Injunction.
23          Plaintiffs must also show that they are likely to suffer irreparable harm in the
24   absence of preliminary relief, that the balance of equities tips in their favor, and that
25   an injunction is in the public interest. Winter, 555 U.S. at 20. When the Government
26   is a party, the final two preliminary injunction factors—the balance of the equities and
27   the public interest—merge. See Nken v. Holder, 556 U.S. 418, 435 (2009). More,
28   when a party “has established likelihood of success on the merits of a constitutional
                         MEMO. OF POINTS & AUTHORITIES ISO PRELIMINARY INJUNCTION
                                                   -23-
 Case 8:23-cv-01798 Document 6-1 Filed 09/26/23 Page 32 of 33 Page ID #:63



 1   claim—particularly one involving a fundamental right—the remaining Winter factors
 2   favor enjoining the likely unconstitutional law.” Junior Sports Mags., 2023 WL
 3   5945879, at *8; see also Baird, 2023 WL 5763345, at *4 (noting that when a plaintiff
 4   shows likelihood of success on the merits of a constitutional claim, it “tips the merged
 5   third and fourth favors decisively in his favor”).
 6          So too here. It is evident that SB2 causes Plaintiffs irreparable harm by
 7   depriving them of their fundamental right to carry in public spaces. And as the Ninth
 8   Circuit recently noted in the Second Amendment context, the “deprivation of
 9   constitutional rights unquestionably constitutes irreparable injury.” Baird, 2023 WL
10   5763345, at *4 (cleaned up). As for the final two factors, “it is always in the public
11   interest to prevent the violation of a party’s constitutional rights.” Sammartano v. First
12   Jud. Dist. Ct., 303 F.3d 959, 974 (9th Cir. 2002); see also Baird, 2023 WL 5763345,
13   at *4 (“The government . . . cannot reasonably assert that it is harmed in any legally
14   cognizable sense by being enjoined from constitutional violations.” (cleaned up)).
15   Thus, the remaining factors favor injunctive relief.
16   IV.    The Court Should Waive Bond or Require Only Nominal Security.
17          Because the State will not suffer monetary hardship and this matter involves a
18   constitutional violation and the public interest, the Court should either waive Rule
19   65(c)’s bond requirement or impose only a nominal bond. See, e.g., Barahona-Gomez
20   v. Reno, 167 F.3d 1228, 1237 (9th Cir. 1999) (district court has “discretion as to the
21   amount of security required, if any”); Save Our Sonoran, Inc. v. Flowers, 408 F.3d
22   1113, 1126 (9th Cir. 2005) (“requiring nominal bonds is perfectly proper in public
23   interest litigation”).
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                              MEMO. OF POINTS & AUTHORITIES ISO PRELIMINARY INJUNCTION
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 Case 8:23-cv-01798 Document 6-1 Filed 09/26/23 Page 33 of 33 Page ID #:64



 1                                       CONCLUSION
 2         For all these reasons, this Court should issue a preliminary injunction
 3   prohibiting enforcement of the challenged provisions of California’s SB2.
 4   Dated: September 26, 2023                  BENBROOK LAW GROUP, PC
 5
 6                                              By s/ Bradley A. Benbrook
 7                                                BRADLEY A. BENBROOK
                                                  Attorneys for Plaintiffs
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                        MEMO. OF POINTS & AUTHORITIES ISO PRELIMINARY INJUNCTION
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